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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION

FURLANDARE SINGLETON, et al.                                        PLAINTIFFS

v.                      Case No.: 4:15-CV-205-
KGB


ARKANSAS HOUSING AUTHORITIES
PROPERTY & CASUALTY SELF-INSURED                                  DEFENDANTS
FUND, INC., et al.


 BRK BRANDS, INC.’S STATEMENT OF MATERIAL FACTS AS TO WHICH
                THERE IS NO GENUINE DISPUTE

        Defendant, BRK Brands, Inc. (“BRK”), by and through its attorneys, Wright,

Lindsey & Jennings, LLP, and Cozen O’Connor, submits the following Statement of

Material Facts as to which there is no dispute pursuant to Local Rule 56.1:

        1.       In the early morning hours of March 22, 2012, decedents were in the

apartment in which they resided in Jacksonville, Arkansas. (Doc. No. 27 at ¶ 31).

        2.       At or about 2:00 a.m. on the morning of the fire, all decedents shared a

telephone conversation with plaintiff, Furlandare Singleton. (Doc. No. 27 at ¶ 34).

        3.       Moments after the 2:00 a.m. telephone conversation, a fire ignited in

decedents’ apartment. (Doc. No. 27 at ¶ 35).

        4.       Marilyn Beavers was aware of the fire and attempted to extinguish the

fire. (Doc. No. 27 at ¶ 37).

        5.       A Model 1839WN smoke alarm, manufactured by BRK, was installed

in the hallway of the apartment on the night of the fire. (Doc. No. 27 at ¶ 65.)




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      6.       On December 7, 2015, all parties and their experts inspected the

smoke alarm that was installed in decedents’ apartment on the night of the fire.

(Affidavit of Daniel Gottuk attached as Exhibit “A” to BRK’s motion and also

attached to Jacksonville Housing Authority’s motion for summary judgment, Doc.

No. 56-2).

      7.       This December 7, 2015, inspection demonstrated that the smoke alarm

sounded during the fire. (Affidavit of Daniel Gottuk).

      8.       All occupants of the apartment, decedents, died from smoke inhalation

during the fire.

      9.       There is no evidence as to when or how decedents learned of the fire

and/or how much time passed between the moment the alarm sounded and the

point the decedents became unconscious.

      10.      There is no evidence how much time passed while Marilyn Beavers

attempted to extinguish the fire.

      11.      There is no evidence as to how much time passed between the moment

Marilyn Beavers became aware of the fire and the point decedents became

unconscious.




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                                 Respectfully submitted,

                                 WRIGHT, LINDSEY & JENNINGS, LLP


                                 By: /s/ Kathryn A. Pryor
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                           CERTIFICATE OF SERVICE

      I hereby certify that on March 28, 2016, I electronically filed the foregoing

with the Clerk of Court using the CM/ECF system, which shall send notification of

such filing to the following:

      David A. Hodges                             Shawn Childs
      E. Dion Wilson                              William M. Hatchett
      Sheila Campbell                             William Griffin
      Teresa Wineland                             John Wilkerson
      John Walker


                                      /s/ Kathryn A. Pryor
                                       Kathryn A. Pryor



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